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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                            :          CASE NO. 20-71913-JWC
                                                  :
BENYOUNES SERHIR,                                 :          CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :
                                                  :
S. GREGORY HAYS,                                  :
Chapter 7 Trustee for the Estate of               :
Benyounes Serhir,                                 :
                                                  :
         Plaintiff,                               :
                                                  :
vs.                                               :          ADV. PRO. NO.
                                                  :
PLAZA HOME MORTGAGE, INC.,                        :
PENNYMAC LOAN SERVICES, LLC, and                  :
U. S. SECRETARY OF HOUSING                        :
AND URBAN DEVELOPMENT                             :
                                                  :
         Defendants.                              :
                                                  :


                                            COMPLAINT

         S. Gregory Hays, Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Benyounes Serhir (“Debtor”), files this Complaint (the

“Complaint”) against Plaza Home Mortgage, Inc. (“Plaza”); Pennymac Loan Services, LLC

(“Pennymac”); and U. S. Secretary of Housing and Urban Development (“HUD” and with Plaza

and Pennymac, the “Defendants”), and respectfully shows the Court as follows:

                                        Jurisdiction and Venue

         1.        This adversary proceeding is initiated pursuant to Rule 7001(a) of the Federal

Rules of Bankruptcy Procedure and 11 U.S.C. §§ 544, 550, and 551.




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         2.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a) because

this adversary proceeding arises in and relates to the Chapter 7 bankruptcy case styled as In re

Benyounes Serhir, Case No. 20-71913-JWC (the “Bankruptcy Case”), pending in United States

Bankruptcy Court, Northern District of Georgia, Atlanta Division.

         3.    This adversary proceeding constitutes a core proceeding pursuant to 28 U.S.C. §

157(b)(2).

         4.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 1334 and 157.

         5.    Trustee consents to the entry of final orders or judgments by the Bankruptcy

Court pursuant to Bankruptcy Rule 7008 of the Federal Rules of Bankruptcy Procedure.

         6.    The Defendants are subject to the jurisdiction of this Court.

                                       Statement of Facts

                                     a. General Background

         7.    On November 19, 2020 (the “Petition Date”), Debtor filed a voluntary petition

for relief under Chapter 7 of Title 11 of United States Code, initiating the Bankruptcy Case as a

Chapter 7 proceeding.

         8.    Trustee was thereafter appointed to the Bankruptcy Case as the interim Chapter 7

Trustee under 11 U.S.C. § 701(a)(1).

         9.    At the conclusion of the meeting of creditors, Trustee became the permanent

Chapter 7 Trustee under 11 U.S.C. § 702(d).

                                         b. The Property

         10.   On the Petition Date, Debtor jointly owned that certain real property commonly

known as 706 Sweet Spice Way, Canton, Cherokee County, Georgia 30114 (the “Property”)




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jointly with Souad Oulalite.

                               c. The First Security Interest Transfers

         11.   On or about May 26, 2016, Debtor and Souad Oulalite executed a Security Deed

(the “Plaza Security Deed”) in favor of Mortgage Electronic Registration Systems, Inc.

(“MERS”) as nominee for Plaza, conveying the Property to secure a debt (the “Plaza Debt”) in

the amount of $181,649.00 (the “First Transfer”).

         12.   The Security Deed was recorded on the real property records with the Clerk of the

Superior Court of Cherokee County, State of Georgia (the “Real Estate Records”) on June 1,

2016, beginning at page 340 of Deed Book 13867 (the “Second Transfer”, and together with the

First Transfer, the “First Security Interest Transfers”).

         13.   A true and correct copy of the Plaza Security Deed, along with any riders, is

attached hereto and incorporated herein by reference as Exhibit “A.”

         14.   Upon information and belief, Plaza is the holder of the Plaza Security Deed and

any related interest in the Property arising out of the same.

         15.   Upon information and belief, Pennymac is the servicer of the Plaza Debt.

         16.   The execution of the Plaza Security Deed by Debtor and Souad Oulalite was not

attested by an official witness as required by O.C.G.A. § 44-14-61. This defect in attestation is

apparent from the face of the Plaza Security Deed.

         17.   In conjunction with executing the Plaza Security Deed, Debtor and Souad Oulalite

executed a rider titled Waiver of Borrower’s Rights (the “Waiver”).

         18.   The Waiver appears at pages 357-358 of Deed Book 13867 of the Real Estate

Records.




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         19.   The Waiver does not include the real property description or the address of the

Property.

         20.   Also in conjunction with the execution of the Plaza Security Deed, a purported

closing attorney signed a Closing Attorney Affidavit (the “Affidavit”) in front of a purported

notary public named April Mays (the “Notary Public”).

         21.   The Affidavit appears at page 359 of Deed Book 13867 of the Real Estate

Records.

         22.   The Notary Public did not record on the Affidavit the exact date of her notarial

act.

         23.   The Plaza Security Deed was not in recordable form, and, even though recorded,

does not provide actual or constructive notice to a bona fide purchaser.

                           d. The Second Security Interest Transfers

         24.   Debtor and Souad Oulalite executed a Georgia Partial Claim Security Deed dated

September 17, 2020 (the “HUD Deed”), in favor of HUD conveying the Property to secure a

debt in the amount of $5,370.12 (the “Third Transfer”).

         25.   The HUD Deed was recorded on the Real Estate Records on October 13, 2020

(the “Fourth Transfer”, and together with the Third Transfer, the “Second Security Interest

Transfers”) beginning at page 1987 of Deed Book 14541.

         26.   A true and correct copy of the HUD Deed, along with any riders, is attached

hereto and incorporated herein by reference as Exhibit “B.”

         27.   The execution of the HUD Deed by Debtor and Souad Oulalite was not attested

by an official witness as required by O.C.G.A. § 44-14-61. This defect in attestation is apparent

from the face of the HUD Deed.




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         28.       The HUD Deed was not in recordable form, and, even though recorded, does not

provide actual or constructive notice to a bona fide purchaser.

                                                COUNT I

       Claim to Avoid the First Security Interest Transfers under 11 U.S.C. § 544(a)(3)

             29.   Trustee hereby re-alleges and incorporates paragraphs 1 through 28 of this

Complaint as if the same were set forth verbatim herein.

         30.       The Plaza Security Deed is patently defective because Debtor’s execution of the

Plaza Security Deed is not attested to by an official witness.

         31.       Because of this patent defect, the Plaza Security Deed does not provide Trustee,

in his role as a hypothetical bona fide purchaser, notice of any security interest. See U.S. Bank

Nat’l Ass’n v. Gordon, 289 Ga. 12, 17 (2011); Wells Fargo Bank. N.A. v. Gordon, 292 Ga. 474,

477 (2013).

         32.       Trustee, in his role as a hypothetical bona fide purchaser of real property, has a

claim in the Debtor’s one-half interest in the Property that is superior to the claim of Plaza, and

Trustee may avoid the First Security Interest Transfers under 11 U.S.C. § 544(a)(3).

                                                COUNT II

  Claim to Recover Plaza’s Interest, or its value, in the Property under 11 U.S.C. § 550(a)

         33.       Trustee hereby re-alleges and incorporates paragraphs 1 through 32 of this

Complaint as if the same were set forth verbatim herein.

         34.       Plaza is the initial transferee of an interest in the Property from Debtor, or Plaza is

the entity for whose benefit the First Security Interest Transfers were made.

         35.       Alternatively, Plaza is a mediate or immediate transferee of an interest in the

Property from Debtor.




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         36.   Plaintiff is entitled to recover from Plaza its interest in the Property, the value of

the First Security Interest Transfers, or other appropriate relief, under 11 U.S.C. § 550.

                                            COUNT III

Claim for Preservation of Avoided First Security Interest Transfers under 11 U.S.C. § 551

         37.   Trustee hereby re-alleges and incorporates paragraphs 1 through 36 of this

Complaint as if the same were set forth verbatim herein.

         38.   The avoided First Security Interest Transfers are preserved automatically for the

benefit of the Bankruptcy Estate under 11 U.S.C. § 551.

                                            COUNT IV

     Claim to Avoid the Second Security Interest Transfers under 11 U.S.C. § 544(a)(3)

         39.   Trustee hereby re-alleges and incorporates paragraphs 1 through 38 of this

Complaint as if the same were set forth verbatim herein.

         40.   The HUD Deed is patently defective because Debtor’s execution of the HUD

Deed is not attested to by an official witness.

         41.   Because of this patent defect, the HUD Deed does not provide Trustee, in his role

as a hypothetical bona fide purchaser, notice of any security interest. See U.S. Bank Nat’l Ass’n

v. Gordon, 289 Ga. 12, 17 (2011); Wells Fargo Bank. N.A. v. Gordon, 292 Ga. 474, 477 (2013).

         42.   Trustee, in his role as a hypothetical bona fide purchaser of real property, has a

claim in the Debtor’s one-half interest in the Property that is superior to the claim of HUD, and

Trustee may avoid the Second Security Interest Transfers under 11 U.S.C. § 544(a)(3).

                                             COUNT V

        Claim to HUD’s Interest, or its value, in the Property under 11 U.S.C. § 550(a)

         43.   Trustee hereby re-alleges and incorporates paragraphs 1 through 42 of this




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Complaint as if the same were set forth verbatim herein.

         44.   HUD is the initial transferee of an interest in the Property from Debtor, or HUD is

the entity for whose benefit the Second Security Interest Transfers were made.

         45.   Alternatively, HUD is a mediate or immediate transferee of an interest in the

Property from Debtor.

         46.   Plaintiff is entitled to recover from HUD its interest in the Property, the value of

the Second Security Interest Transfers, or other appropriate relief, under 11 U.S.C. § 550.

                                           COUNT VI

                  Claim for Preservation of Avoided Second Security Interest
                               Transfers under 11 U.S.C. § 551

         47.   Trustee hereby re-alleges and incorporates paragraphs 1 through 46 of this

Complaint as if the same were set forth verbatim herein.

         48.   The avoided Second Security Interest Transfers are preserved automatically for

the benefit of the Bankruptcy Estate under 11 U.S.C. § 551.

         WHEREFORE, Trustee prays the Court enter a judgment in favor of Trustee and against

the Defendants:

         a)    Avoiding the First Security Interest Transfers under 11 U.S.C. § 544(a)(3);

         b)    Ordering Plaza to turnover, deliver, and transfer its interest in the Property, or the

value of the same, to Trustee under 11 U.S.C. §550;

         c)    Preserving the First Security Interest Transfers for the benefit of the Bankruptcy

Estate under 11 U.S.C. § 551;

         d)    Avoiding the Second Security Interest Transfers under 11 U.S.C. § 544(a)(3);

         e)    Ordering HUD to turnover, deliver, and transfer its interest in the Property, or the

value of the same, to Trustee under 11 U.S.C. §550;



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         f)     Preserving the Second Security Interest Transfers for the benefit of the

Bankruptcy Estate under 11 U.S.C. § 551; and

         g)     Granting such other and further relief that the Court deems just and proper.

         Respectfully submitted this 8th day of January, 2021.

                                              ARNALL GOLDEN GREGORY, LLP
                                              Attorneys for Chapter 7 Trustee

                                              By: /s/ Michael J. Bargar
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                             EXHIBIT “A” FOLLOWS




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                             EXHIBIT “B” FOLLOWS




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